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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )       CRIMINAL ACTION NO.
                                          )         2:12cr104-MHT
STEVEN P. MOCK                            )             (WO)


                             OPINION AND ORDER

      Defendants Steven P. Mock, Paul Hulse, Sr., and Frank

J.    Teers,       are    criminally          charged     with     fraudulently

inducing       a    bank    to   make         a   large     loan    by   falsely

representing         Hulse       as   a       wealthy       individual     with

significant assets that could be pledged as collateral.

The government alleges that Mock and the others were

aware that Hulse had no such assets, and they fabricated

documents showing the contrary.                     Mock, a lawyer who was

representing Hulse, is charged with knowingly aiding the

scheme.        The       government   claims         that    the   defendants’

conduct violated 18 U.S.C. §§ 1349 (conspiracy), 1343

(wire fraud), and 1344 (bank fraud).
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    This criminal case is currently before the court on

Mock’s motion to suppress.             An evidentiary hearing was

held on the motion on May 9, 2013.1



                           I. BACKGROUND

    Prior to proceedings in this criminal case getting

significantly underway, Mock was a witness in a civil

trial   in   the   United      States    District     Court    for       the

Southern     District     of   Texas.     The     Texas   civil     trial

involved     the   same    underlying     facts    alleged     in    this

Alabama criminal prosecution. There, Mock gave testimony

in both a pre-trial deposition and in the trial itself.

During both occasions, Mock answered many questions that

were asked, and, with others, he elected not to answer

substantively and to invoke instead either the Fifth

Amendment, the attorney-client privilege, or both.                        He

now contends that, at the trial, he answered questions



    1.    The motion was originally referred to the
magistrate judge for a report and recommendation. This
court subsequently decided to hear the matter de novo.

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only because the judge ordered him to forgo asserting the

Fifth Amendment or the attorney-client privilege and

that, even if the judge did not explicitly order as much,

he     reasonably       interpreted          the        judge’s    ambiguous

instructions       in   that   manner.         Therefore,         he   argues,

because he was ordered (or he reasonably believed he was

ordered) to forgo asserting his rights, any statements he

made in the Texas civil trial should now be suppressed

from    being     introduced      as       evidence      in   this     Alabama

criminal      trial.       Additionally,           he    argues      that   any

statements he made in the earlier deposition in the Texas

civil proceedings should be suppressed as well.



                             II. DISCUSSION

             A. Testimony in the Texas Civil Trial

                                     1.

       The Fifth Amendment provides that, “No person ...

shall be compelled in any criminal case to be a witness

against himself.”         U.S. Const. amend. V.               The amendment



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“does not preclude a witness from testifying voluntarily

in matters which may incriminate him.”                    United States v.

Monia,   317    U.S.    424,     427       (1943).         Once     a   person

voluntarily     testifies       (whether         in   a    civil    trial,    a

deposition, or another proceeding), any Fifth Amendment

right he may have otherwise had with respect to the

testimony he gave is waived.              See United States v. White,

846 F.2d 678, 690 (11th Cir. 1988) (“A witness who

testifies at any proceeding, instead of asserting his

Fifth Amendment rights, loses the privilege.”).                            If a

person   voluntarily       gives       such      testimony,        he   cannot

preclude    those    statements           from     being    introduced       as

evidence in a subsequent criminal trial.                     Id. (“A civil

deponent   cannot      choose    to       answer      questions     with    the

expectation of later asserting the Fifth Amendment.”).

    Mock asks this criminal court to suppress evidence of

the testimony he voluntarily gave at the prior civil

trial without claiming the Fifth Amendment.                        See Def.’s

Mot. (Doc. No. 64).         But, because Mock chose to answer



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questions while on the witness stand, he cannot now

expect to assert the Fifth Amendment.                 See White, 846

F.2d at 690.      The law clearly provides that he “los[t]

the privilege.”       Id.

    Mock     argues   that    this     result    should    not    follow

because, at the civil trial, he was “improperly compelled

to respond” to questions instead of invoking the Fifth

Amendment.      Def.’s Mot. (Doc. No. 64).                However, the

civil trial transcript shows otherwise.               Mock points to

a single exchange in the transcript where the court, he

contends, improperly compelled him to testify:

           “[EXAMINING ATTORNEY]: ... What did you
           mean by [stating that you were a]
           ‘senior trust officer’ [for Paul Hulse,
           Sr. and his various companies]?

           “[MOCK]: I had a couple of capacities.
           One is I was a lawyer for each stage;
           therefore, I protect my privilege which
           I must assert. Secondly, I would invoke
           the Fifth Amendment on the question,
           ma’am.

           “THE   COURT:  ...   [L]et me   inject
           something here.    You’re representing
           yourself, Mr. Mock?



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       “[MOCK]: Yes, Judge.

       “THE COURT: You are an attorney licensed
       to practice in the State of Texas.

       “[MOCK]: Yes, Judge. ...

       “THE COURT: ... [Y]ou have asserted a
       Fifth Amendment privilege and –- against
       self-incrimination on the last question
       I believe that was asked?

       “[MOCK]: Correct.

       “THE COURT: And you understand that, as
       an attorney, you do not have a privilege
       of participating –- I’m not suggesting
       that you are. You have –- you do not
       have the privilege of participating in
       criminal activity and asserting the
       attorney-client privilege as a basis for
       that –- for not disclosing criminal
       activities. Do you understand that?

       “[MOCK]: I was advised by my criminal
       lawyer   in  Alabama  to  assert  the
       privilege.

       “THE COURT: I’m not suggesting that you
       don’t assert it. What I am trying to
       make sure, and certainly you can confer
       with your attorney in Alabama, if you
       have not already, is that the law does
       not protect you from prosecution in
       criminal activity simply by you saying
       you cannot –- maybe I should say it
       differently. That if your clients are
       participating in criminal activity and

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          you are aware of that fact, the
          attorney-client  privilege  does   not
          protect you from prosecution yourself
          where that activity is not disclosed.
          You cannot assert an attorney-client
          privilege   and say,   ‘I  didn’t   do
          anything. I just gave them advice.’

          “[MOCK]: I do understand.

          “THE COURT: You understand that?

          “[MOCK]: Yes.

          “THE COURT: All right. I might not have
          said it perfectly, but I hope you
          understand where I’m going.

          “[MOCK]: I do, and I thank you, Judge.

          “THE COURT: Sure.”

Trial Tr. (Doc. No. 81), Exh. 2, at 230:1-232:5.

    Contrary       to   Mock’s      contention,      nowhere    in   that

exchange does the Texas civil court prohibit him from

asserting    his    Fifth     Amendment     right.       What   actually

happened is dramatically different.               In actuality, after

Mock, asserted both the attorney-client privilege and the

Fifth   Amendment       (“I   was   a    lawyer   ...;   therefore,      I

protect my privilege which I must assert.                  Secondly, I



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would invoke the Fifth Amendment.”), the court advised

him as to two principles of law.                        First, the court

advised        Mock   of   the    crime-fraud          exception     to     the

attorney-client         privilege,        that   is,    that,   if    Mock’s

client’s made communications to Mock for the purpose of

committing a crime or fraud, the privilege does not

protect those communications from disclosure (“[Y]ou do

not     have    the   privilege     of    participating      in    criminal

activity and asserting the attorney-client privilege as

a basis for ... not disclosing criminal activities.”).

That statement of the law is unquestionably correct.

See, e.g., In re Grand Jury Investigation, 842 F.2d 1223,

1226 (11th Cir. 1987) (“The attorney-client privilege

does not protect communications made in furtherance of a

crime or fraud.”).

       Second, the Texas civil court advised Mock that, if

his “clients [were] participating in criminal activity

and [he was] aware of that fact” (but nevertheless aided

the clients in their criminal activities), “the attorney-



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client privilege does not protect [him] from prosecution

[him]self....”         That is, he can be convicted of aiding in

the criminal scheme despite his aid being in the nature

of legal services.          No citation is necessary to show that

is obviously true.

       The implication of the civil court’s statements was:

Mock may be, hypothetically, indicted for aiding his

client’s       criminal     conduct        (as    he    was),     and,   in   a

subsequent criminal trial, the attorney-client privilege

will not protect him, but, the Fifth Amendment will, if

Mock does not waive it in the civil trial.                          In other

words, insofar as that court commented at all on Mock’s

desire to invoke the Fifth Amendment, the court implied

that such invocation would be wise.                    Of course, the court

did     not   explicitly      advise       Mock   to     assert    the   Fifth

Amendment (indeed, such an explicit instruction would

surely frustrate the plaintiffs in the case), but that

was the implication of his explanation that the Fifth

Amendment will protect Mock in a subsequent prosecution



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(if not waived), but the attorney-client privilege will

not.     The civil court even advised Mock to confer with

his    criminal    defense   attorney      (“[C]ertainly       you   can

confer with your attorney in Alabama, if you have not

already”).      Mock stated three times that he understood,

and he then thanked the court.             It is clear that Mock

understood that it was in his interest to assert the

amendment, and he was free to do so at his election.

       Lastly, one thing cannot be seriously contested: The

Texas civil court told Mock that, “I’m not suggesting

that you don’t assert it.”         Whether the “it” referred to

the Fifth Amendment, the attorney-client privilege, or

the     moon,     that   court     was     incontrovertibly          “not

suggesting” that Mock not assert it, whatever “it” was.

End of story.

       Nevertheless, if there can be any doubt about Mock’s

understanding, subsequent parts of the transcript should

dispel    it.      Several   minutes     after    the    above-quoted

exchange, the examining attorney asked Mock a question to



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which Mock substantively responded.              The attorney then

asked Mock whether, when he was previously deposed, he

invoked the Fifth Amendment instead of answering that

same question.      Mock answered that he could not recall.

The attorney, dissatisfied that Mock had not given a

definitive answer one way or the other, objected.                    The

civil court stated that it will not sustain the objection

because “[Mock is] the person who is giving the testimony

[and he] has a right to ... assert the privilege.”                Trial

Tr. (Doc. No. 81), Exh. 2, at 233:12-15 (emphasis added).

The attorney clarified that his objection was not to

Mock’s “asserting a privilege” now, but rather, his lack

of an answer regarding whether he asserted it earlier, at

the deposition.        Id. at 233:16-17.             The court then

permitted    the   examining      attorney      to   show    Mock    the

deposition transcript so that Mock could refresh his

memory.   After Mock read the transcript and realized that

he had, in fact, invoked the Fifth Amendment at the

earlier deposition, he commented to the court, “And I



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probably    should     now.     I   should      plead   to   the   Fifth

Amendment.    But I answered....”           Id. at 234:10-12.         The

court replied, “Well, let me just say, at this point, you

waived your Fifth Amendment as to that question.                   Let’s

proceed.”    Id. at 234:13-15.

    In short, Mock was told that he “ha[d] the right” to

assert the Fifth Amendment, but, if he did not do so, and

instead gave testimony, the result would be a waiver.

Mock’s     statement     that    he      “probably      should     [have]

plead[ed] ... the Fifth Amendment, [b]ut [he] [instead]

answered” plainly indicates that he understood what had

transpired: that he possessed a Fifth Amendment right

that he was free to assert and he waived that right by

failing to do so.      That Mock now contends that the court,

which told him that he “ha[d] the right” to assert the

Fifth    Amendment,      was    somehow        forbidding    him     from

asserting the right, is meritless.

    There    is   more.        During    the    remainder    of    Mock’s

testimony in the civil trial, after he had been told



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explicitly that he had the right to assert the Fifth

Amendment, he subsequently did so three separate times.

Id. at 235:22 (“I plead the Fifth Amendment privilege,

ma’am.”), 236:3 (“I plead the Fifth Amendment privilege,

please.”),    and    236:6    (“I    plead   the    Fifth    Amendment

privilege.”).      His first assertion of the Fifth Amendment

was, according to the transcript, approximately four

minutes    after    the    court’s       “compulsion”     (which     was

actually not compulsion at all).2 Neither the civil court

nor any attorneys at the trial took exception to any of

those instances.       Mock’s invocations of the privileges

went unchallenged.        There is not a single occasion in the

civil trial transcript showing that Mock attempted to

invoke a privilege and that the court denied him the

right.    Mock acknowledges to this criminal court that he

indeed asserted his rights on these occasions after the



    2. He also asserted the attorney-client privilege on
several occasions. Trial Tr. (Doc. No. 81), Exh. 2, at
236:22 (“I plead my rights under the attorney-client
privilege.”) and 238:13 (“I plead my attorney-client
privilege.”).

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civil court had ostensibly forbidden him from doing so,

but he offers entirely no explanation as to how he could

have done that when he believed he was ordered not to.

The failure to even attempt to explain this discrepancy

speaks volumes.

    As   has    been    noted,     during     the    course     of   the

deposition and civil trial, there were occasions when the

same question was asked of Mock first at the deposition

and then again at trial, and Mock asserted the Fifth

Amendment on the first occasion but not the second.                  Mock

now contends that this fact supports that he believed the

trial court to have forbidden assertions of the Fifth

Amendment.     But that argument is meritless.           Mock himself

explained why at the civil trial.             There, subsequent to

all of the above-referenced exchanges, Mock substantively

answered one of the examining attorney’s questions about

Hulse’s conduct.       The attorney then asked, “when I asked

you that question at your deposition, did you plead the

Fifth Amendment?”      Id. at 242:14-16.        Mock responded that



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he “[m]ay have.”      Id. at 242:17.       The attorney asked, “So

at the time I asked you that question at your deposition,

you thought the answer to that question might incriminate

you?”    Id. at 242:18-20.       Mock answered, “No.         I thought

that you could plead the Fifth if you could anybody

[sic].   But I learned from the Judge you can’t do that as

I’ve tried to act in accordance with these instructions

of the Court.”      Id. at 242:21-24.          The attorney asked,

“So at the time that I took your deposition, ... you

thought the answer [to the question] might incriminate

[Hulse or his company]?”            Id. at 242:25-243:3.            Mock

“thought it might, yes, ma’am.”           Id. at 243:4.

    The civil trial transcript is obviously missing a

word from Mock’s testimony, but, in context, the missing

word is clear: Mock’s explanation that he previously

thought the Fifth Amendment could be invoked “if you

could anybody” (a nonsense statement unless a word is

missing) was an erroneous transcription for Mock’s actual

statement that he believed the amendment could be invoked



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“if you could incriminate anybody.”            That is, at the time

of the deposition, Mock erroneously believed that he

could assert the Fifth Amendment to avoid incriminating

Hulse (whose conduct was the subject of the attorney’s

questioning) or another third party, and, as such, he

invoked the amendment accordingly.               But, at the later

trial, Mock became aware that the amendment could be

asserted only to avoid incriminating himself, not to

avoid incriminating third parties.              And that is indeed

correct.   See U.S. Const. amend. V (“No person ... shall

be compelled in any criminal case to be a witness against

himself.”) (emphasis added);           Couch v. United States, 409

U.S.   322,   328    (1973)    (“The     Constitution       explicitly

prohibits compelling an accused to bear witness ‘against

himself’: it necessarily does not proscribe incriminating

statements elicited from another.”).              Before Mock’s own

testimony at the civil trial began, but while Mock was in

the courtroom, the court instructed an earlier witness on

this   distinction        between      protecting       oneself      and



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protecting    another.         Mock    obviously      heard     it     and

understood.

    Should there still be any doubt whether this criminal

court is correctly interpreting Mock’s explanation for

why he, at times, asserted the Fifth Amendment in the

deposition but not at the trial, it should be noted that

Mock repeated this same explanation a second time.                   In an

on-the-record hearing before the civil court after the

trial had ended, Mock stated to the court, “I did take

the Fifth.      And I took the Fifth more frequently by

deposition.    But then you admonished the parties that the

Fifth was appropriately taken only if I were personally

opposed [sic: almost certainly should be “exposed”] to a

risk.   And so, based upon that admonition, I took the

Fifth less frequently .....”            Hr’g Tr. (Doc. No. 200),

Exh. 1, at 6:22-7:3.3       It could not be clearer that when


    3. At that same hearing, the court told Mock that,
“I am not saying or suggesting for one minute you should
waive [the Fifth Amendment], but this is a choice that
you have to make....” Hr’g Tr. (Doc. No. 200), Exh. 1,
at 7:13-22. If that same court earlier forbade Mock from
                                                               (continued...)

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Mock gave testimony at trial, he understood correctly

when he could lawfully invoke the Fifth Amendment (to

protect himself) and when he could not (to protect a

third party), and he acted accordingly.

       Finally, in testimony before this criminal court in

support of his suppression motion, Mock said that he

believed that he had been ordered to forgo asserting his

Fifth       Amendment   right.      After    a   review     of   all     the

evidence and after observing Mock during his testimony,

the court finds, factually, that Mock did not believe

that he had been so ordered.                Mock’s testimony before

this court is not credible.4


(...continued)
asserting the Fifth Amendment, as Mock now contends, that
statement would certainly have been a surprising
reversal.

    4. It should be noted that Mock stated inaccurately
in his motion to suppress that, after the civil court
“compell[ed] his response,” “Mock no longer asserted the
Fifth Amendment privilege.” Def.’s Mot. (Doc. No. 64) at
14 (emphasis added). As this court has shown, that is
simply not true. Mock asserted the Fifth Amendment three
more times.    In the hearing before this court, that
inaccuracy was not repeated again, but the earlier
                                                                 (continued...)

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       In sum, the evidence shows, and the court so finds,

factually,       that   Mock   was   accurately      informed     of   his

rights, he understood them well, and he exercised them

accordingly.            Therefore,     Mock    “cho[]se      to    answer

questions” at the civil trial and he cannot now invoke

the Fifth Amendment to make those answers go away–-he

“los[t] the privilege.”           White, 846 F.2d at 690.5



(...continued)
inaccuracy contained in the actual motion before this
court was not corrected.

    5. The court is firmly convinced that Mock did not
actually believe that the trial court had forbidden him
from asserting his rights under the Fifth Amendment.
Based on the record, such a belief would have been
entirely unfounded. However, even if Mock did, in fact,
subjectively carry such an unreasonable belief despite
all evidence to the contrary, that subjective belief
alone would not warrant suppression under the Fifth
Amendment.   For testimony to be “compelled” under the
Fifth Amendment, the declarant must both believe that the
court is ordering his testimony and that belief must be
objectively reasonable. Cf. United States v. Waldon, 363
F.3d 1103, 1112 (11th Cir. 2004) (government employee’s
testimony is compelled in violation of the Fifth
Amendment if the employee “subjectively believed that he
would lose his job if he refused to answer questions and
that his belief was objectively reasonable”) (emphasis
added); United States v. Vangates, 287 F.3d 1315, 1322
(11th Cir. 2002) (same).

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                                     2.

       In addition to the Fifth Amendment, Mock also relies

on    the   attorney-client        privilege      in    his   suppression

motion, but it is equally unavailing here.                 The attorney-

client privilege belongs to the client (here, Hulse), not

the attorney (here, Mock).            See United States v. Noriega,

917 F.2d 1543, 1551 (11th Cir. 1990).                  The client is, of

course, free to waive the privilege if he so desires, and

if he does, “the attorney may not assert it, either for

the client’s or his own benefit.”                Id.    As Mock himself

concedes, his client, Hulse, was present throughout the

civil trial, and at no point did Hulse attempt to assert

the privilege to bar Mock giving any of his testimony.

As such, to whatever extent Hulse (or Mock, in his

capacity as Hulse’s attorney) may have otherwise had to

have barred such testimony, he waived it by remaining

silent and allowing Mock’s statements to go unchallenged.

See 1 Kenneth S. Broun, McCormick on Evidence § 93 (6th

ed.) (“Of course, if the holder of the privilege fails to



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claim his privilege by objecting to disclosure by himself

or another witness when he has an opportunity to do so,

he waives his privilege as to the communications so

disclosed.”).     “[I]t has long been held that once waived,

the   attorney-client      privilege     cannot     be    reasserted.”

United States v. Suarez, 820 F.2d 1158, 1160 (11th Cir.

1987).     Neither     Mock   nor    Hulse    can   now    revive    the

privilege.



         B. Testimony in the Texas Civil Deposition

      Lastly, the court turns to Mock’s request that all

statements made in the deposition in connection with the

Texas civil trial be suppressed.             At the hearing before

this court, Mock’s counsel struggled to articulate a

legal argument for why they should be.                    The argument

seemed to boil down to, because, at the time of the

deposition, everyone involved knew that Mock was the

target of a criminal prosecution, the Fifth Amendment

should have precluded anybody from asking Mock questions.



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That argument is without merit.             Mock has shown no law

supporting it.      Again, Mock voluntarily chose to answer

questions at the deposition, and, as such, he “los[t] the

privilege” of remaining silent.           White, 846 F.2d at 690.

Mock’s counsel also argued that the plaintiffs in the

civil case were acting as “stalking horses” for the

government, but there is entirely no evidence in the

record to support that allegation.



                                 ***

    Accordingly, it is ORDERED that defendant Steven P.

Mock’s motion to suppress (Doc. No. 64) is denied.                  This

denial is without prejudice to assertion at trial of

testimonial privileges, including the Fifth Amendment,

the attorney-client privilege, and others in cases where

the privilege has not been previously waived.

    DONE, this the 13th day of May, 2013.



                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
